                    UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                         DOCKET NO. 3:13CR205

            V.                                                 ORDER

VINCENT GORDON
__________________________________________________________________________


  THIS MATTER IS BEFORE THE COURT on United States Attorney’s Motion, (Doc.
No. 33) Motion to Seal Defendant’s medical records and attaches as Exhibits. Defendant’s BOP
medical records and his BOP Inmate Profile which contains his Social Security Number in the
Government’s Response (Doc. No. 32)

   IT IS ORDERED, that United States Attorney’s Motion (Doc. No.33) is GRANTED.



                                    Signed: October 13, 2021




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